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Showing posts with label Quick Search Box. Show all

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Introducing Quick Search Box for > 2012 (6)
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Posted by Mike LeBeau and Karl Rosaen on 17 September 2009 at
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One of the He > Nav'(5)
features we're really
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1,6 release is Quick ¥ Sep (8)

Search Box for
Android. This is our
new system-wide
search framework,
which makes it possible
for users to quickly and
easily find what they're

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looking for, both on in Android
their devices and on Introducing Quick Search Box for
the web. It suggests Android

content on your device
as you type, like apps,
contacts, browser
history, and music. It

Android 1.6 SDK is here
Some News from Android Market

& Aug (2
also offers results from ug (2)
the web search > Jul (1)
suggestions, local > Jun (2)
business listings, and

>
other info from Google, such as stock quotes, weather, and flight May (5)
status. All of this is available right from the home screen, by tapping > Apr (12)
on Quick Search Box (QSB). > Mar (5)
What we're most excited about with this new feature is the ability for > Feb (8)
you, the developers, to leverage the QSB framework to provide > Jan (3)

quicker and easier access to the content inside your apps. Your

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apps can provide search suggestions that will surface to users in > 2008 (40)
QSB alongside other search results and suggestions. This makes it > 2007 (8)
possible for users to access your application's content from outside
your application—for example, from the home screen.

The code fragments below are related to a new demo app for Android 1.6 called
Searchable Dictionary.

The story before now: searching within your app

In previous releases, we already provided a mechanism for you to
expose search and search suggestions in your app as described in
the docs for SearchManager. This mechanism has not changed and
requires the following two things in your AndroidManifest.xml:

1) In your <activitys>, an intent filter, and a reference to a
searchable. xml file (described below):

<intent-filter>

<action
android:name="android.intent.action.SEARCH" /
>

<category
android:name="android.intent.category.DEFAULT
" />

</intent-filter>

<meta-data
android:name="android.app.searchable"
android:resource="@xml/searchable" /»>

2) A content provider that can provide search suggestions
according to the URIs and column formats specified by the Search
Suggestions section of the SearchManager docs:

<!-- Provides search suggestions for words

and their definitions. -->

<provider android:name="DictionaryProvider"
android: authorities="dictionary"
android:syncable="false" />

In the searchable.xml file, you specify a few things about how
you want the search system to present search for your app,
including the authority of the content provider that provides
suggestions for the user as they type. Here's an example of the
searchable.xml of an Android app that provides search
suggestions within its own activities:

<searchable
xmlns:android="http://schemas.android.com/apk
/res/android"

android: label="@string/search_label"

android: searchSuggestAuthority="dictionary"

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android:searchSuggestIntentAction="android.in
tent .action.VIEW">
</searchable>

Note that the android: searchSuggestAuthority attribute
refers to the authority of the content provider we declared in
AndroidManifest.xml.

For more details on this, see the Searchability Metadata section of
the SearchManager docs.

Including your app in Quick Search Box

In Android 1.6, we added a new attribute to the metadata for
searchables: android: includeInGlobalSearch. By specifying
this as "true" in your searchable.xml, you allow QSB to pick
up your search suggestion content provider and include its
suggestions along with the rest (if the user enables your
suggestions from the system search settings).

You should also specify a string value for

android: searchSettingsDescription, which describes to
users what sorts of suggestions your app provides in the system
settings for search.

<searchable
xmlns:android="http://schemas.android.com/apk
/res/android"

android: label="@string/search_ label"

android: searchSettingsDescription="@string/s
ettings description"
android: includeInGlobalSearch="true"

android: searchSuggestAuthority="dictionary"

android: searchSuggest IntentAction="android.i
ntent.action.VIEW">
</searchable>

These new attributes are supported only in Android 1.6 and later.

What to expect

The first and most important thing to note is that when a user
installs an app with a suggestion provider that participates in QSB,
this new app will not be enabled for QSB by default. The user can
choose to enable particular suggestion sources from the system
settings for search (by going to "Search" > "Searchable items" in
settings).

You should consider how to handle this in your app. Perhaps show
a notice that instructs the user to visit system settings and enable
your app's suggestions.

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Once the user enables your searchable item, the app's suggestions
will have a chance to show up in QSB, most likely under the "more
results" section to begin with. As your app's suggestions are chosen
more frequently, they can move up in the list.

sot-] cei gt-] 0} (om BD) (elt lel ar] av)

Searchable Dictionary: 1

Shortcuts
One of our objectives with QSB is to make it faster for users to

access the things they access most often. One way we've done this
is by 'shortcutting' some of the previously chosen search

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suggestions, so they will be shown immediately as the user starts
typing, instead of waiting to query the content providers.
Suggestions from your app may be chosen as shortcuts when the
user clicks on them.

For dynamic suggestions that may wish to change their content (or
become invalid) in the future, you can provide a ‘shortcut id’. This
tells QSB to query your suggestion provider for up-to-date content
for a suggestion after it has been displayed. For more details on
how to manage shortcuts, see the Shortcuts section within the
SearchManager docs.

QSB provides a really cool way to make your app's content quicker
to access by users. To help you get your app started with it, we've
created a demo app which simply provides access to a small
dictionary of words in QSB—it's called Searchable Dictionary, and
we encourage you to check it out.

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